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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-80109-CR-ROSENBERG


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  JOHN O’GRADY,

              Defendant.
  ____________________________

                     UNOPPOSED MOTION TO CONTINUE TRIAL

        Defendant, John O’Grady, through undersigned counsel, requests the Court to

  continue the trial in the above-styled cause for at least an additional sixty (60) days.

  As grounds therefor, Defendant states:

        1. Defendant is charged with falsely representing himself to be a United

            States Marshal. A trial is currently scheduled during the two-week

            calendar period commencing on August 20, 2018.

        2. This case was continued once previously to allow further investigation and

            explore possible defenses. The investigation is ongoing. Specifically,

            Defendant is charged with a “specific intent” offense to which a “diminished

            capacity” defense may be available. Additional time is needed to allow

            Defendant to be evaluated by a psychologist to determine the viability of a

            diminished capacity defense. Then, if Defendant decides to pursue that


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           defense through expert testimony, the government may seek to have

           Defendant evaluated by its own psychologist or psychiatrist.

        3. To allow a full investigation of the possible defense of “diminished

           capacity,” including the possible need for two or more mental health

           evaluations, it is requested that the Court continue the trial in the

           above-styled cause for at least sixty (60) days.

        4. Defendant agrees to waive speedy trial from the filing of the above-styled

           motion to the next trial date set by the Court.

        5. Undersigned counsel has contacted Assistant United States Attorney John

            McMillan who has no objection to the above-styled motion.

        WHEREFORE, Defendant respectfully requests the Court to grant the

  above-styled motion.


                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         Federal Public Defender

                                         s/ Peter Birch
                                         Peter Birch
                                         Assistant Federal Public Defender
                                         Attorney for the Defendant
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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on July 27, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                         s/ Peter Birch
                                         Peter Birch




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